                                      Exhibit G




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ÒÛÉ ×ÍÍËÛ ó Þ±±µóÛ²¬®§ Ñ²´§ øÜÌÝ÷                                                                                       Í»» ÎßÌ×ÒÙÍ ¸»®»·²ò




°«®°±-»- ±º ¬¸» º»¼»®¿´ ¿´¬»®²¿¬·ª» ³·²·³«³ ¬¿¨ ·³°±-»¼ ±² ·²¼·ª·¼«¿´- ¿²¼ ½±®°±®¿¬·±²-å ¸±©»ª»®ô -«½¸ ·²¬»®»-¬ ©·´´ ¾» ¬¿µ»² ·²¬± ¿½½±«²¬
·² ¼»¬»®³·²·²¹ ¿¼¶«-¬»¼ ½«®®»²¬ »¿®²·²¹- º±® ¬¸» °«®°±-» ±º ½±³°«¬·²¹ ¬¸» ¿´¬»®²¿¬·ª» ³·²·³«³ ¬¿¨ ·³°±-»¼ ±² ½»®¬¿·² ½±®°±®¿¬·±²-ò Þ±²¼
Ý±«²-»´ ·- ¿´-± ±º ¬¸» ±°·²·±² ¬¸¿¬ô «²¼»® »¨·-¬·²¹ ´¿©ô ·²¬»®»-¬ ±² ¬¸» É¿®®¿²¬- ©·´´ ¾» »¨»³°¬ º®±³ Í¬¿¬» ±º ß´¿¾¿³¿ ·²½±³» ¬¿¨¿¬·±²ò Í»»
ÌßÈ ÍÌßÌËÍ ¸»®»·² º±® º«®¬¸»® ·²º±®³¿¬·±²ò

                                                    üïôéèëôìèêôëîïòêë
                                              ÖÛÚÚÛÎÍÑÒ ÝÑËÒÌÇô ßÔßÞßÓß
                                                      Í»©»® Î»ª»²«» É¿®®¿²¬-
                                                    Í»®·»- îðïíóß ¬± Í»®·»- îðïíóÚ
                     Í»» ×²-·¼» Ý±ª»® º±® Ó¿¬«®·¬§ Í½¸»¼«´»ô ×²¬»®»-¬ Î¿¬»-ô Ð®·½»- ±® Ç·»´¼-ô ¿²¼ ÝËÍ×Ð Ò«³¾»®-
Ü¿¬»¼æ Ü¿¬» ±º Ü»´·ª»®§                                                                   Ü«»æ Ñ½¬±¾»® ïô ¿- -¸±©² ±² ¬¸» ·²-·¼» ½±ª»® ¸»®»±º




Ì¸» É¿®®¿²¬-               Ö»ºº»®­±² Ý±«²¬§ô ß´¿¾¿³¿ ø¬¸» Ý±«²¬§÷ ·­ ·­­«·²¹ ¬¸» ­»½«®·¬·»­ ½¿°¬·±²»¼ ¿¾±ª»ô ©¸·½¸ ¿®» ½±´´»½¬·ª»´§ ®»º»®®»¼ ¬±
                           ¸»®»·² ¿­ ¬¸» É¿®®¿²¬­ò
Ð«®°±-»                    Ì¸» °®±½»»¼- ±º ¬¸» É¿®®¿²¬-ô ¬±¹»¬¸»® ©·¬¸ ½¿-¸ ±² ¸¿²¼ ±º ¬¸» Ý±«²¬§ô ©·´´ ¾» «-»¼ ¬± ø·÷ ®»º«²¼ ¿²¼ ®»¬·®» ¬¸» Î»¬·®»¼
                           Í»©»® É¿®®¿²¬- ±® °¿§ °¿-¬ ¼«» ¼»¾¬ -»®ª·½» ¬¸»®»±²ô ¿²¼ ±¬¸»® ½´¿·³- «²¼»® ¬¸» Ð´¿² ±º ß¼¶«-¬³»²¬ô ¿- ¼»-½®·¾»¼
                           ¸»®»·²ô ø··÷ °¿§ ¬¸» °®»³·«³ º±® ¬¸» Í»®·»- îðïí ×²-«®¿²½» Ð±´·½§ô ¿²¼ ø···÷ °¿§ ¿ °±®¬·±² ±º ¬¸» ½±-¬- ±º ·--«·²¹ ¬¸»
                           É¿®®¿²¬­ò Í»» ÛÍÌ×ÓßÌÛÜ ÍÑËÎÝÛÍ ßÒÜ ËÍÛÍ ¸»®»·²ò
Í»½«®·¬§                   Ì¸» Í»®·»- îðïí Í»²·±® Ô·»² Ñ¾´·¹¿¬·±²- ¿®» ²±¬ ¹»²»®¿´ ±¾´·¹¿¬·±²- ±º ¬¸» Ý±«²¬§ ¿²¼ ¿®» ²±¬ -»½«®»¼ ¾§ ¿²§ ¬¿¨
                           ®»ª»²«»- ±º ¬¸» Ý±«²¬§ò Ì¸» Í»®·»- îðïí Í»²·±® Ô·»² Ñ¾´·¹¿¬·±²- ¿®» ¾»·²¹ ·--«»¼ ¿- ´·³·¬»¼ ±¾´·¹¿¬·±²- -»½«®»¼ ¾§ ¿²¼

                           º®±³ ¬¸» -¿²·¬¿®§ -»©»® -§-¬»³ ±©²»¼ ¿²¼ ±°»®¿¬»¼ ¾§ ¬¸» Ý±«²¬§ ¿²¼ ½»®¬¿·² ±¬¸»® º«²¼- ¿²¼ ¿½½±«²¬- ½®»¿¬»¼ ·² ¬¸»
                           ×²¼»²¬«®»ò ß¼¼·¬·±²¿´ -»½«®·¬§ º±® ¬¸» Í»®·»- îðïí Í»²·±® Ô·»² Ñ¾´·¹¿¬·±²- ·- ¼»-½®·¾»¼ ¸»®»·²ò
                           Ì¸» Í»®·»- îðïí Í«¾±®¼·²¿¬» Ô·»² Ñ¾´·¹¿¬·±²- ¿®» ²±¬ ¹»²»®¿´ ±¾´·¹¿¬·±²- ±º ¬¸» Ý±«²¬§ ¿²¼ ¿®» ²±¬ -»½«®»¼ ¾§ ¿²§ ¬¿¨
                           ®»ª»²«»- ±º ¬¸» Ý±«²¬§ò Ì¸» Í»®·»- îðïí Í«¾±®¼·²¿¬» Ô·»² Ñ¾´·¹¿¬·±²- ¿®» ¾»·²¹ ·--«»¼ ¿- ´·³·¬»¼ ±¾´·¹¿¬·±²- -»½«®»¼ ¾§
                           ¿²¼ °¿§¿¾´» º®±³ô ¿²¼ ¸¿ª·²¹ ¿ -»½±²¼ °®·±®·¬§ ´·»² ±²ô ¬¸» Ù»²»®¿´ Ì®«-¬ Û-¬¿¬»ò ß¼¼·¬·±²¿´ -»½«®·¬§ º±® ¬¸» Í»®·»- îðïí
                           Í«¾±®¼·²¿¬» Ô·»² Ñ¾´·¹¿¬·±²- ·- ¼»-½®·¾»¼ ¸»®»·²ò
Ô»¬¬»®- ±º Ý®»¼·¬          Ì¸» ®»¯«·®»¼ ·²·¬·¿´ ¼»°±-·¬- ¬± ¬¸» Í»®·»- îðïí Í»²·±® Ô·»² Î»-»®ª» Ú«²¼ ¿²¼ ¬¸» Í»®·»- îðïí Í«¾±®¼·²¿¬» Ô·»² Î»-»®ª»

                           ´»¬¬»®- ±º ½®»¼·¬ «°±² ·--«¿²½» ±º ¬¸» É¿®®¿²¬-ò Í»» •ÍËÓÓßÎÇ ÑÚ ÌØÛ ÍÛÎ×ÛÍ îðïí ÎÛÍÛÎÊÛ ÚËÒÜÍ ÔÛÌÌÛÎÍ
                           ÑÚ ÝÎÛÜ×Ì ¸»®»·²ò
×²-«®¿²½» º±®              Ì¸» -½¸»¼«´»¼ °¿§³»²¬ ±º °®·²½·°¿´ ±º ø±®ô ·² ¬¸» ½¿-» ±º ¬¸» Í»®·»- îðïíóÞ É¿®®¿²¬- ¿²¼ ¬¸» Í»®·»- îðïíóÝ É¿®®¿²¬-ô ¬¸»
Ý»®¬¿·² É¿®®¿²¬-           ß½½®»¬»¼ Ê¿´«»÷ ¿²¼ ·²¬»®»-¬ ±² ¬¸» Í»®·»- îðïí Í»²·±® Ô·»² Ñ¾´·¹¿¬·±²- ©¸»² ¼«» ©·´´ ¾» ¹«¿®¿²¬»»¼ «²¼»® ¿² ·²-«®¿²½»
                           °±´·½§ ¬± ¾» ·--«»¼ ½±²½«®®»²¬´§ ©·¬¸ ¬¸» ¼»´·ª»®§ ±º ¬¸» Í»®·»- îðïí Í»²·±® Ô·»² Ñ¾´·¹¿¬·±²- ¾§ ßÍÍËÎÛÜ ÙËßÎßÒÌÇ
                           ÓËÒ×Ý×ÐßÔ ÝÑÎÐò




Î»¼»³°¬·±²                 Ì¸» É¿®®¿²¬- ¿®» -«¾¶»½¬ ¬± ®»¼»³°¬·±² °®·±® ¬± ³¿¬«®·¬§ ¿- ¼»-½®·¾»¼ ¸»®»·²ò

ß¼¼·¬·±²¿´ Ñ¾´·¹¿¬·±²-     Ì¸» Ý±«²¬§ ¸¿- ®»-»®ª»¼ ¬¸» ®·¹¸¬ ¬± ·--«» ¿¼¼·¬·±²¿´ ±¾´·¹¿¬·±²- -»½«®»¼ ¾§ ¿²¼ °¿§¿¾´» º®±³ ¬¸» Ù»²»®¿´ Ì®«-¬ Û-¬¿¬»
                           ±² °¿®·¬§ ©·¬¸ ¬¸» Í»®·»- îðïí Í»²·±® Ô·»² Ñ¾´·¹¿¬·±²- ø¾«¬ ±²´§ º±® ®»º«²¼·²¹ °«®°±-»- ±® º±® ½»®¬¿·² ±¬¸»® ´·³·¬»¼
                           °«®°±-»-÷ô ¿²¼ ¿¼¼·¬·±²¿´ ±¾´·¹¿¬·±²- -»½«®»¼ ¾§ ¿²¼ °¿§¿¾´» º®±³ ¬¸» Ù»²»®¿´ Ì®«-¬ Û-¬¿¬» ±² °¿®·¬§ ©·¬¸ ¬¸» Í»®·»-
                           îðïí Í«¾±®¼·²¿¬» Ô·»² Ñ¾´·¹¿¬·±²-ô ¿´´ ¿- ¼»-½®·¾»¼ ¸»®»·²ò

Ì¿¨ Í¬¿¬«-                 Ú±® ·²º±®³¿¬·±² ±² ¬¸» ¬¿¨ -¬¿¬«- ±º ¬¸» É¿®®¿²¬-ô -»» ¬¸» ·¬¿´·½·¦»¼ ´¿²¹«¿¹» ¿¬ ¬¸» ¬±° ±º ¬¸·- ½±ª»® °¿¹»ò
Ü»´·ª»®§ Ü¿¬»              ×¬ ·- »¨°»½¬»¼ ¬¸¿¬ ¬¸» É¿®®¿²¬- ©·´´ ¾» ¿ª¿·´¿¾´» º±® ¼»´·ª»®§ ¬¸®±«¹¸ ÜÌÝ ±² ±® ¿¾±«¬ Ü»½»³¾»® íô îðïíò

     Ì¸·- ½±ª»® °¿¹» ½±²¬¿·²- ·²º±®³¿¬·±² º±® ¯«·½µ ®»º»®»²½» ±²´§ò ×¬ ·- ²±¬ ¿ -«³³¿®§ ±º ¬¸·- ·--«»ò Ð±¬»²¬·¿´ ·²ª»-¬±®- ³«-¬ ®»¿¼

º¿½¬±®- ¬¸¿¬ °®±-°»½¬·ª» ·²ª»-¬±®- -¸±«´¼ ½¿®»º«´´§ ½±²-·¼»® ¾»º±®» ³¿µ·²¹ ¿² ·²ª»-¬³»²¬ ¼»½·-·±² ®»¹¿®¼·²¹ ¬¸» É¿®®¿²¬-ò Í»» •Î×ÍÕ
ÚßÝÌÑÎÍ ¸»®»·²ò



Ý»®¬¿·² ´»¹¿´ ³¿¬¬»®- ©·´´ ¾» °¿--»¼ «°±² º±® ¬¸» Ý±«²¬§ ¾§ Þ®¿¼´»§ ß®¿²¬ Þ±«´¬ Ý«³³·²¹- ÔÔÐô Ü·-½´±-«®» Ý±«²-»´ ¬± ¬¸» Ý±«²¬§ô ¿²¼ º±® ¬¸»


                                                               Ý×Ì×ÙÎÑËÐ
        Ó»®½¸¿²¬ Ý¿°·¬¿´ô ÔòÔòÝò                                                                        Ü®»¨»´ Ø¿³·´¬±²ô ÔÔÝ
    Ú·®-¬ Ì«-µ»¹»» Ý¿°·¬¿´ Ó¿®µ»¬-                                                                  Í»½«®·¬·»- Ý¿°·¬¿´ Ý±®°±®¿¬·±²
               Ö»ºº»®·»-                              Ô±±° Ý¿°·¬¿´ Ó¿®µ»¬-ô ÔÔÝ                            Ó±®¹¿² Í¬¿²´»§
          ÎÞÝ Ý¿°·¬¿´ Ó¿®µ»¬-
Ü¿¬»¼æ Ò±ª»³¾»® îðô îðïí




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                                                     JEFFERSON COUNTY, ALABAMA




                                                                $395,005,000
                                      Senior Lien Sewer Revenue Current Interest Warrants, Series 2013-A

                     $71,575,000 5.000% Term Series 2013-A Warrants Yield 5.300% due October 1, 2044; CUSIP(1) 472682QK2
                    $118,430,000 5.250% Term Series 2013-A Warrants Yield 5.450% due October 1, 2048; CUSIP(1) 472682QL0
                    $205,000,000 5.500% Term Series 2013-A Warrants Yield 5.650% due October 1, 2053; CUSIP(1) 472682QJ5




                                                              $54,999,963.60
                                   Senior Lien Sewer Revenue Capital Appreciation Warrants, Series 2013-B

                   Maturity         Initial Principal         Accreted Value
                  (October 1)           Amount                 at Maturity                Price        Yield             CUSIP(1)
                     2025             $2,438,595.00             $4,700,000                51.885       5.625%          472682QM8
                     2026               4,567,584.00              9,600,000               47.579       5.875           472682QN6
                     2027               6,481,807.20            14,680,000                44.154       6.000           472682QP1
                     2028               4,854,262.50            11,875,000                40.878       6.125           472682QQ9
                     2029               4,483,168.75            11,875,000                37.753       6.250           472682QR7
                     2030               4,130,481.25            11,875,000                34.783       6.375           472682QS5
                     2031               3,879,206.25            11,875,000                32.667       6.375           472682QT3
                     2032               3,561,193.75            11,875,000                29.989       6.500           472682QU0
                     2033               3,340,437.50            11,875,000                28.130       6.500           472682QV8
                     2034               6,132,745.50            23,835,000                25.730       6.625           472682QW6
                     2035               5,747,108.80            23,840,000                24.107       6.625           472682QX4
                     2036               5,383,373.10            23,835,000                22.586       6.625           472682QY2




                                                             $149,997,926.25
                             Senior Lien Sewer Revenue Convertible Capital Appreciation Warrants, Series 2013-C

               $26,252,184.75(a) Term Series 2013-C Warrants, Price 53.331, Yield 6.500% due October 1, 2038; CUSIP(1) 472682RA3
               $63,039,907.10(a) Term Series 2013-C Warrants, Price 52.826, Yield 6.600% due October 1, 2042; CUSIP(1) 472682QZ9
               $26,184,818.40(a) Term Series 2013-C Warrants, Price 52.078, Yield 6.750% due October 1, 2046; CUSIP(1) 472682RB1
               $34,521,016.00(a) Term Series 2013-C Warrants, Price 51.340, Yield 6.900% due October 1, 2050; CUSIP(1) 472682RC9




(1)
    The CUSIP number shown above has been assigned by Standard & Poor's CUSIP Service Bureau, a Division of The McGraw Hill Companies, Inc.,
and is included solely for the convenience of the Warrantholders. Neither the Underwriters nor the County is responsible for the selection or use of the
CUSIP number, nor is any representation made as to its correctness on the Warrants or as indicated herein.
(a)
      These are initial principal amounts. For the respective Accreted Value on the Current Interest Commencement Date, see Appendix D.




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                                                                 $810,915,000
                                     Subordinate Lien Sewer Revenue Current Interest Warrants, Series 2013-D
                                      Maturity      Principal      Interest
                                    (October 1)      Amount         Rate            Yield        CUSIP(1)
                                        2015        $ 2,285,000     5.000%         2.375%      472682RD7
                                        2016          7,345,000     5.000          2.625       472682RE5
                                        2017         12,995,000     5.000          2.875       472682RF2
                                        2018         14,215,000     5.000          3.125       472682RG0
                                        2021          8,745,000     5.000          4.375       472682RJ4
                                        2022         10,980,000     5.000          4.500       472682RK1
                                        2023         14,780,000     5.000          4.625       472682RH8

                    $220,005,000 6.000% Term Series 2013-D Warrants Yield 6.450% due October 1, 2042; CUSIP(1) 472682RL9
                    $119,570,000 7.000% Term Series 2013-D Warrants Yield 6.700%(c) due October 1, 2051; CUSIP(1) 472682RN5
                    $399,995,000 6.500% Term Series 2013-D Warrants Yield 6.850% due October 1, 2053; CUSIP(1) 472682RM7




                                                               $50,271,496.05
                                  Subordinate Lien Sewer Revenue Capital Appreciation Warrants, Series 2013-E

                   Maturity         Initial Principal           Accreted Value
                  (October 1)           Amount                   at Maturity               Price           Yield          CUSIP(1)
                    2028              $2,710,212.25               $ 8,075,000              33.563          7.500%       472682RW5
                    2029               4,134,832.20               13,465,000               30.708          7.600        472682RP0
                    2030               5,342,191.50               19,050,000               28.043          7.700        472682RQ8
                    2031               6,350,382.00               24,845,000               25.560          7.800        472682RR6
                    2032               7,232,469.75               30,825,000               23.463          7.850        472682RS4
                    2033               7,999,770.00               37,000,000               21.621          7.875        472682RT2
                    2034               6,231,842.80               31,420,000               19.834          7.920        472682RU9
                    2035               6,932,795.55               38,015,000               18.237          7.950        472682RV7
                    2036               3,337,000.00               20,000,000               16.685          8.000        472682RX3




                                                             $324,297,135.75
                           Subordinate Lien Sewer Revenue Convertible Capital Appreciation Warrants, Series 2013-F

             $66,636,575.00(a) Term Series 2013-F Warrants, Price 48.500, Yield 7.500% due October 1, 2039; CUSIP(1) 472682RZ8
             $92,828,295.25(a) Term Series 2013-F Warrants, Price 47.365, Yield 7.750% due October 1, 2046; CUSIP(1) 472682SA2
            $164,832,265.50(a) Term Series 2013-F Warrants, Price 46.698, Yield 7.900% due October 1, 2050; CUSIP(1) 472682RY1




(1)
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and is included solely for the convenience of the Warrantholders. Neither the Underwriters nor the County is responsible for the selection or use of the
CUSIP number, nor is any representation made as to its correctness on the Warrants or as indicated herein.
(a)
      These are initial principal amounts. For the respective Accreted Value on the Current Interest Commencement Date, see Appendix D.
(c)
      Priced at the stated yield to the October 1, 2028, optional redemption date at a redemption price of 100%.




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